Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 1 of 27 PageID# 7




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF \'IRGINIA
                                            Alexandria Division

IN THE MATTER OF THE SEARCH OF                            UNDER SEAL
3OO9 SUMMERSHADE COURT
HERNDON, VIRGINIA 20I 71                                  1:22-SW-372


                 AFFIDA\'IT IN SUPPORT OF AN APPLICATION
             UNDER RULE 4I FOR A SEARCH AND SEIZURE WARRANT

       I, Randall M. Mason, being duly swom, depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

       l.      I   make this affidavit in support of an application under Rule     4l   of the Federal

Rules of Criminal Procedure for a warrant to search the premises known as 3009 Summershade

Courl, Hemdon, Virginia 20171 C'TARGET LOCATION) further described in Attachment A,

for the things described in Attachment B.

       2.      As explained herein, based on my training and experience, and the facts set forth

in this affidavit, I      submit there      is   probable cause   to   believe that ISAIAS DANIEL

CHINCHILLA (hereinafter, "CHINCHILLA") is involved in a conspiracy to distribute fentanyl,

in violation of Title 21, United States Code, Sections 8al(a)(1) and 846. There is also probable

cause to believe that evidence, fruits, and instrumentalities of these crimes, as further described

in Attachment B,   will   be found at the   TARGET LOCATION.

       3.      I   am a Detective with the Arlington County Police Department.           I   have been

employed as a police officer with the Arlington County Police Department since 2007.            I   have


been assigned to the ViceA{arcotics Unit since 2014'          I   am curently assigned to the Drug

Enforcement Administration C'DEA'), where I am federally deputized as a Task Force Officer

C'TFO) with the DEA's High Intensity Drug Trafficking Area Task Force. As such, I am a Law



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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 2 of 27 PageID# 8




Enforcement Officer as defined under Section 2510(7) of Title 18, United States Code, (1.e. an

officer of the United States or a political sub-division thereoi who is empowered to conduct

investigations of, and to make arrests for, offenses enumerated in Title 21, United States Code).

During my time in law enforcement, I have participated in the application for and execution of

numerous arrest and search warrants in the investigation ofnarcotics and organized crime related

offenses, resulting in the prosecution and conviction of numerous individuals and the seizure      of

illegal drugs, weapons, stolen property, and other evidence of criminal activity.

       4.      During my time in law enforcement, I have investigated violations of federal and

state narcotics laws.    I   have conducted or participated in numerous investigations involving

narcotics-related offenses, which have resulted in the seizure    of illegal drugs, drug proceeds in

the form of United States currency, weapons, and other evidence of criminal activity. My

experience includes the execution of search warrants. These investigations have led to the arrest

and conviction of drug distributors and users in the General District, Juvenile and Domestic

Relations, and Circuit Courts of Arlinglon County, as well as in the Eastern District of Virginia.

Through my training and experience, I am familiar with the actions, habits, traits, methods, and

terminology used by drug traffickers and abusers of controlled dangerous substances. Through

my employment,      I   have gained knowledge      in the use of various investigative techniques

including the use of wiretaps, physical surveillance, undercover agents, confidential informants

and cooperating witnesses, the controlled purchase of illegal narcotics, electronic surveillance,

consensually monitored recordings, investigative interviews, financial investigations, the service

of administrative and grand jury subpoenas, and the execution of search and arrest warrants. I

have testified at trials, in grand   jury proceedings, and at preliminary hearings, and I have   been




                                                    2
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 3 of 27 PageID# 9




certified as an expert in the distribution of narcotics in Arlington County General District and

Circuit Courts.

       5.         The facts and information contained in this affidavit are based upon my personal

knowledge of the investigation and observations of other law enforcement officers and agents

involved in this investigation. All observations referenced below that were not personally made

by me were relayed to me by the persons who made such observations. Additionally, unless

otherwise noted, wherever your Affiant asserts that a statement;as made by an individual, such

statement is described in substance herein, and is not intended to be a verbatim recitation of such

statement.

       6.         This affidavit contains information necessary to support probable cause. The

information contained in this affidavit is not intended to include each and every fact and matter

observed by or known to the United States.

       7.         Based on my training and experience, I am aware that:

                  a.     Individuals who distribute illegal controlled Substances often maintain

       records relative to their drug trafficking activities. These records and documents are

       usually secreted in their places ofresidence, or the residences of family members, friends,

       or associates, in their businesses, or in the places of operation of the drug distribution

       activity such as a stash house or safe house. These documents often include ledgers,

       account books, calculations, or other notations which reflect inventories and quantities   of

       narcotics purchased and distributed. The documents also may include "pay-owe sheets,"

       which are documents that bear calculations, customers' names, quantities, and prices.

                  b.     Individuals who distribute illegal controlled substances maintain

       documents, letters, and records relating to the illegal activity for periods of   time. This



                                                  3
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 4 of 27 PageID# 10




     documentary evidence is usually secreted in their places of residence, or the residences      of

     family members, friends, or associates, in their businesses, or in the places of operation of

     the drug distribution activity such as a stash house or safe house. This documentary

     evidence includes, but is not limited to, telephone numbers, telephone books, address

     books, credit card receipts, hotel receipts, train and bus tickets, car rental receipts,

     amounts and records in fictitious names, false identification documents, money orders,

     account notations, "pay-owe sheets," and other records indicating the existence of storage

     facilities used in narcotics trafficking. In my training and experience,     I   also know that

     individuals who have committed crimes using computers often keep records of their

     crimes in digital or electronic format, such as on a computer, and that computers are often

     stored in a residence.

            c.       Individuals who distribute illegal controlled substances commonly

     maintain addresses or telephone numbers          in books or    papers, which reflect names,

     addresses and/or telephone numbers      of their   associates   in drug trafficking. They   also

     store such information, as well as photographs, messages, and personal notes, in

     electronic equipment including, but not limited to, computers, cellular phones, and other

     electronic software and mediums.

            d.       Individuals who distribute illegal controlled substances often maintain, on

     hand and in their residences, large amounts of U.S. currency in order to maintain and

     finance their ongoing criminal activities.

             e.      Individuals who distribute illegal controlled substances often use, carry,

     and retain firearms and other weapons to protect themselves, as well as to secure their

     cache of narcotics and the proceeds of their drug trafficking. Individuals who possess and




                                                  4
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 5 of 27 PageID# 11




       store firearms in their residences, vehicles and/or stash locations, or in the residences     of

       trusted associates, often also store ammunition, shell casings, slugs, targets, holsters, gun

       cleaning kits, and owrership papers in those locations.

               f.       Individuals who distribute illegal controlled substances commonly

       maintain currency, controlled substances, firearms, and other contraband             in   locked

       containers such as a safe.

               g.       Individuals who distribute illegal controlled substances take, or cause to

       be taken, photographs of themselves and their associates in the drug trade, property

       derived from the distribution of narcotics, and their products, and such photographs are

       often kept in their residence. Individuals who distribute illegal controlled substances

       commonly keep packaging materials, scales, and other drug paraphemalia                 in   their

       residences and on their property.

                                         PROBABLE CAUSE

       8.      The United States, including the DEA, is conducting a criminal investigation of

CHINCHILLA and others regarding possible violations of 21 U.S.C.               $$   841(a)(l) and 846

(Conspiracy to Distribute Fentanyl).

       9.      During the month of February 2022, Loudoun County Sheriffs Office ("LCSO")

Detective James Lim received information from a confidential cooperating source ("CS-1") that

an unindicted co-conspirator (.'UCC-I) was distributing Percocet pills in Loudoun County,

which is within the Eastem District of Virginia. For the purposes of this Affidavit,                the

cooperating source   will   be referred to in the masculine gender, regardless of whether the CS is in

fact male or female.




                                                    5
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 6 of 27 PageID# 12




          10.   CS-l   became    a source of information with LCSO in or about February       2022

following his arrest for distribution ofa controlled substance. CS-1 is an admitted drug user and

distributor. Apart from the February 2022 arrest, CS-l has no additional criminal history. The

information that CS-l has provided to law enforcement has been proven true and accurate. With

respect to the instant case, CS-l's information has been corroborated by other confidential

sources, information obtained from various public databases, physical surveillance, and other

information obtained during the investigation. To my knowledge, none of the information

provided by CS-l has proved to be false, misleading, or inaccurate in any material respect. CS-l

has made statements against his own penal interest. For these reasons,      I   consider CS-l to be

reliable.

          11.   During the months of February and March, CS-l conducted four controlled

purchases in the Eastem District of Virginia for a total of approximately 370     pills. During   the

first controlled   purchase,   UCC-I gave CS-l the    Snapchat account name
                                                                                 *ZBANDZ_!.3" to

contact for future purchases. UCC-I identified the user of the account as UCC-l's source of

supply.

          12.   CS-l utilized the "ZBANDZ 23" Snapchat account to       arrange the second, third,

and fourth controlled purchases that CS-   I performed. CHINCHILLA      was present for all three   of

those purchases and    UCC-l was involved with the first, second, and fourth controlled purchases.

An undercover detective (.'UC-I) accompanied CS-l to some of these purchases and                  was

ultimately introduced to CHINCHILLA. Following the fourth controlled purchase, surveillance

followed the vehicle CHINCHILLA was in to the neighborhood of the TARGET LOCATION

but not to the TARGET LOCATION specifically.




                                                  6
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 7 of 27 PageID# 13




        13.    Between late March and mid-May 2022,                  UC-l   conducted four controlled

purchases from   CHINCHILLA by contacting him on Snapchat. In each of these four controlled

purchases,   UC-l   contacted the "ZBANDZ" Snapchat account and CHINCHILLA was the

individual who came to perform the deal. In each of these deals, CHINCHILLA met UC-l at a

predetermined location within the Eastem District of        Virginia. In each deal, CHINCHILLA got

into UC-l's vehicle and UC-l handed CHINCHILLA pre-recorded law enforcement buy funds

("buy funds"). During the first two deals, CHINCHILLA directed UC-l to a nearby car where

the pills were located on a parked car's   tire.   In the third and fourth deal,   UC-l   handed buy funds

directly to CHINCHILLA and CHINCHILLA handed a quantity of pills directly to UC-1. Prior

to the third and fourth controlled purchases, which occurred on April 27, 2022 and May 12,2022

respectively, law enforcement set up surveillance on the TARGET LOCATION prior to the deal.

Surveillance observed CHINCHILLA exit the TARGET LOCATION, enter a vehicle, and

maintained surveillance to the deal location.

        14.    Over the course ofthe five aforementioned controlled purchases,             UC-l purchased

approximately 529 pilts believed to contain fentanyl for $6990. Those 529 pills were similar in

size, shape, and markings     to the 370 pills        previously purchased         by CS-1. Additionally,

CHINCHILLA admitted to UC-l during one of the deals that CHINCHILLA knew the pills

contained fentanyl. Each of the four quantities of pills were sent to the Virginia Department           of

Forensic Sciences for analysis. Two        of the quantities have been       tested and came back as

containing fentanyl, a Schedule    II   substance. The results on the final        two quantities are still

pending.

        15.    On or about June 10,2022,      UC-l contacted CHINCHILLA through              Snapchat and

arranged to purchase 100 pills believed to contain fentanyl for $1300. Law enforcement set up




                                                      7
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 8 of 27 PageID# 14




surveillance on the TARGET LOCATION and observed CHINCHILLA exit the TARGET

LOCATION and get into            a   passenger seat     of a waiting car.       Surveillance followed

CHINCHILLA to a location within the Eastem District of Virginia where CHINCHILLA and

UC-1 met. UC-l received 100 pills in exchange for $1300. UC-1 handed buy funds directly to

CHINCHILLA who handed UC-l the bag containing 100 pills. Following the deal, Detective

Lim counted the pills and confirmed that UC-l had received 100 pills. The pills were similar in

size, shape, and marking to the previous pills purchased from CHINCHILLA. Those pills have

been sent to the Virginia Department of Forensic Science for analysis and results are pending.

         16.      On or about June 23,2022,   UC-l contacted CHINCHILLA through           Snapchat and

arranged to purchase 250 pills believed to contain fentanyl for $2500. Law enforcement set up

surveillance on the TARGET LOCATION and observed CHINCHILLA exit the TARGET

LOCATION and get into            a   passenger seat     of a waiting car.       Surveillance followed

CHINCHILLA to a location within the Eastern District of Virginia where CHINCHILLA and

UC-l met. UC-l received 250 pills in        exchange    for $2500. UC-l gave buy funds directly to

CHINCHILLA who handed UC-l a bag containing 250 pills. UC-1 inquired about making                      a


larger purchase, such as 400-500 pills, from CHINCHILLA on the next deal. CHINCHILLA

stated that he would have no problem     fulfilling that order   and stated that he currently had access

to   10,000   pills. Following the deal, Detective Lim counted the pills      and confirmed that UC-l

had only received 249 pills. The pills were similar in size, shape, and marking to the previous

pills purchased from CHINCHILLA. Those pills have been sent to the Virginia Department of

Forensic Science for analysis and results are pending.




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 9 of 27 PageID# 15




        17.     CHINCHILLA is being supervised in relation to separate charges in Fairfax

County. In connection with that            supervision, CHINCHILLA provided          the TARGET

LOCATION as his current residence.

        18.     As part of the investigation in this case, Your Affiant ran record checks through

the Virginia Department of Motor Vehicle's database. Through those checks, Your Affiant

leamed that CHINCHILLA has a valid Virginia learner's permit. The TARGET LOCATION is

listed as CHINCHILLA's address on the permit. These records also reflect that CHINCHILLA's

Virginia learner's permit transcript has a prior address listed on it, but the current address listed

on the transcript is the TARGET LOCATION. The address change was made on January 31,

2022.

 USE OF CELLULAR TELEPHONES/STORAGE MEDIA BY DRUG TRAFFICKERS

        19.     Based on my training, experience, and participation in narcotics and drug-related

investigations, and my knowledge of this case, I am aware that:

                a.      Drug traffickers commonly utilize cellular phones, as well as other

        communication devices, to keep in constant contact with their suppliers, associates, and

        clients in drug trafficking.

                b.      Drug traffickers commonly utilize and possess multiple cellular phones at

        any given time.   lt   is common for drug traffickers to use one cell phone as a personal

        number that they attempt to limit the numbers of contacts with other co-conspirators

        involved in their trade. Drug traffickers commonly utilize a second phone as their "work"

        phone that is used in their business. This second phone utilized for business purposes is

        often not in the drug trafficker's name. The second phone is also commonly changed,

        either by changing phones entirely or changing the phone number of the second phone.




                                                  9
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 10 of 27 PageID# 16




      All of these things   are done by drug traffickers in an attempt to avoid detection by law

      enforcement.

              c.       Drug traffickers commonly make and maintain business               records.

      Specifically, it is quite common for those involved in the manufacture, sale, purchase,

      and transportation of controlled substances to generate and maintain writings, books,

      records, receipts, notes, ledgers, lists, airline tickets, money orders, package and shipping

      labels, and other memoranda to assist in their criminal activities. These materials are

      created and maintained in much the same way and for the same reasons as persons

      involved in legitimate businesses. Drug traffickers maintain records in order to know the

      current status of the various illegal transactions in which they are involved. Without the

      aid of such records, drug traffickers would face a high possibility of error and mistake

      due to the number, complexity, and frequency of their transactions, and the clandestine

      nature of drug trafficking activities. These business records are often located within the

      contents ofthe drug trafficker's cell phone(s).

             d.        Drug traffickers commonly maintain addresses or telephone numbers in

      books or papers, which reflect names, addresses and/or telephone numbers            of   their

      associates   in drug trafficking. They also store such information, as well as photographs,

      messages, and personal notes,     in electronic equipment including, but not limited to,

      cellular phones.

             e.        Drug traffickers commonly keep their old cell phones.    It is common for

      law enforcement to seize numerous old cell phones during the execution of a search

      warrant at a drug trafficker's residence.




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 11 of 27 PageID# 17




       20.      In my training and experience, it is likely that the TARGET LOCATION witl

contain at least one cellular phone because of the use of cellular phones in furtherance of the

conspiracy to distribute controlled substances described above.

       21.      Further,    I   know that CHINCHILLA has used cellular phones to communicate

through Snapchat about drug transactions with UC-l and other individuals involved in drug

distribution. As detailed herein, UC-l has communicated with CHINCHILLA by cellular phone

through Snapchat to coordinate drug transactions.

       22.      The warrant       I   am applying for would permit law enforcement to obtain from

certain individuals the display          of   physical biometric characteristics (such as fingerprint,

thumbprint, or facial characteristics) in order to unlock devices subject to search and seizure

pursuant to this warrant. I seek this authority based on the following:

                a.     I    know from my training and experience, as well as from information

       found in publicly available materials published by device manufacturers, that many

       electronic devices, particularly newer mobile devices and laptops, offer their users the

       ability to unlock the device through biometric features              in lieu of a numeric or
       alphanumeric passcode            or   password. These biometric features include fingerprint

       scanners and facial recogrrition features. Some devices           offer a combination of   these

       biometric features, and the user of such devices can select which features they would like

       to utilize.

                b.     If   a device is equipped with a fingerprint scanner, a user may enable the

       ability to unlock the device through his or her fingerprints. For example, Apple offers a

       feature called "Touch ID," which allows a user to register up to five fingerprints that can

       unlock a device. Once a fingerprint is registered, a user can unlock the device by pressing




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 12 of 27 PageID# 18




      the relevant finger to the device's Touch ID sensor, which is found in the round button

      (often referred to as the "home" button) located at the bottom center of the front of the

      device. The fingerprint sensors found on devices produced by other manufacturers have

      different names but operate similarly to Touch ID.

             c.      Ifa   device is equipped with a facial recognition feature, a user may enable

      the ability to unlock the device through his or her face. For example, Apple offers a facial

      recognition feature called "Face     ID."   During the Face ID registration process, the user

      holds the device in front of his or her face. The device's camera then analyzes and

      records data based on the user's facial characteristics. The device can then be unlocked    if
      the camera detects a face with characteristics that match those of the registered face.

      Facial recognition features found on devices produced by other manufacturers have

      different names but operate similarly to Face ID.

             d.      In my training and experience, users ofelectronic devices often enable the

      aforementioned biometric features because they are considered to be a more convenient

      way to unlock a device than by entering a numeric or alphanumeric passcode or

      password. Moreover, in some instances, biometric features are considered to be a more

      secure way to protect a device's contents. This is particularly true when the users of a

      device are engaged in criminal activities and thus have a heightened concem about

      securing the contents of a device.

             e.      As discussed in this affidavit,      based on   my training and experience   I


      believe that one or more digital devices will be found during the search ofthe TARGET

      LOCATION. The passcode or password that would unlock the device(s) subject to search

      under this warrant is not known to law enforcement. Thus, law enforcement personnel




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 13 of 27 PageID# 19




      may not otherwise be able to access the data contained within the device(s), making the

      use   of biometric features   necessary   to the execution of the search authorized by this

      warrant.

              f.      I also know from my training and experience,          as   well   as   from information

      found in publicly available materials including those published by device manufacturers,

      that biometric features will not unlock a device in some circumstances even                     if   such

      features are enabled. This can occur when a device has been restarted, inactive, or has not

      been unlocked for a certain period        of time. For example, Apple              devices cannot be

      unlocked using Touch ID when      (l)   more than 48 hours has elapsed since the device was

      last unlocked or (2) when the device has not been unlocked using a fingerprint for 4 hours

      azd the passcode or password has not been entered in the last 156 hours. Biometric

      features from other brands carry similar restrictions. Thus, in the event law enforcement

      personnel encounter a locked device equipped with biometric features, the opportunity to

      unlock the device through a biometric feature may exist for only a short time.

              g.     In my training and experience, the person who is in possession ofa device

      or has the device among his or her belongings at the time the device is found is likely a

      user of the device. However, in my training and experience, that person may not be the

      only user of the device whose physical characteristics are among those that will unlock

      the device via biometric features, and          it is also possible   that the person in whose

      possession the device is found is not actually a user of that device at all. Furthermore, in

      my training and experience, I know that in some cases it may not be possible to know

      with certainty who is the user of a given device, such as if the device is found in                     a


      common area of a premises without any identifuing information on the exterior of the




                                                 13
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 14 of 27 PageID# 20




       device. Thus, it     will likely   be necessary for law enforcement to have the ability to require

       any individual, who is found at the TARGET LOCATION and reasonably believed by

       law enforcement to be a user ofthe device, to unlock the device using biometric features

       in the same manner as discussed above.

                 h.       Although I do not know which ofa given user's l0 fingerprints is capable

       of unlocking a particular device,           based on my training and experience   I know that it   is


       common         for a user to unlock a Touch ID-enabled cellular phone device via               the

       fingerprints on thumbs or index fingers. ln the event that Iaw enforcement is unable to

       unlock any cellular phone as described above within the attempts permitted by Touch ID

       or Face ID, this will simply result in the device requiring the entry of a password or

       passcode before it can be unlocked.

       23.       Due to the foregoing,        if   law enforcement personnel encounter a device that      is


subject to search and seizure pursuant to this warrant and may be unlocked using one of the

aforementioned biometric features, the warrant I am applying for would permit law enforcement

personnel to   (l)   press or swipe the fingers (including thumbs)    ofany individual, who is found at

the TARGET LOCATION and reasonably believed by law enforcement to be a user of the

device, to the fingerprint scanner of the device; (2) hold the device in front of the face of those

same individuals and activate the facial recognition feature,          for the purpose of attempting to

unlock the device in order to search its contents as authorized by this warrant.




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 15 of 27 PageID# 21




                                       TECHNICAL TEITMS

         24.      Based on my training and experience,     I   use the following technical terms to

convey the lollowing meanings:

                  a.     IP Address: The lntemet Protocol address (or simply "lP address") is       a


         unique numeric address used by computers on the Internet. An IP address Iooks like a

         series   of four numbers,     each   in the range     0-255, separated   by   periods (e.9,

         121   .56.97.178). Every computer attached to the Internet must be assigned an IP address

         so that Intemet   traffic sent from and directed to that computer may be directed properly

         from its source to its destination. Most Internet service providers control a range of IP

         addresses. Some computers have       static-that is, long-term-lP   addresses,   while other

         computers have dynamic-that is, frequently changed-lP addresses.

                  b.     lntemet: The Internet     is a global network of     computers and other

         electronic devices that communicate with each other. Due to the structure ofthe Intemet,

         connections between devices on the Intemet often cross state and intemational borders,

         even when the devices communicating with each other are in the same state.

                  c.     Storage medium:    A   storage medium is any physical object upon which

         computer data can be recorded. Examples include cellular telephones, hard disks, RAM,

         floppy disks, flash memory, CD-ROMs, and other magnetic or optical media.

          COMPUTERS, ELECTRONIC STORAGE, AND I,'ORENSIC ANALYSJIS

         25.      As described above and in Attachment B, this application seeks permission to

search   for records that might be found at the property described in Attachment A, in whatever

form they are found. One form in which the records might be found is data stored on                 a


computer's hard drive or other storage media, including a cellular phone. Thus, the warrant




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 16 of 27 PageID# 22




would authorize the seizure and search ofelectronic storage media or, potentially, the copying of

electronically stored information, all under Rule a1(e)(2)(B).

        26.     Probable cause. 1 submit that       if a computer or storage medium, including a
cellular telephone, is found at the propety described in Attachment A, there is probable cause to

believe that   it will   include evidence, contraband, fruits, and/or instrumentalities   of   criminal

activities for at least the following reasons:

                a.        Based on my knowledge, training, and experience,    I know that computer

        files or remnants ofsuch files can be recovered months or even years after they have been

        downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

        downloaded to a storage medium can be stored for years at little or no cost. Even when

        files have been deleted, they can be recovered months or years later using forensic tools.

        This is because when a person "deletes" a file on a computer, the data contained in the

        file does not actually disappear; rather, that data remains on the storage medium until it   is


        overwritten by new data. Therefore, deleted files or remnants of deleted files may reside

        in free space or slack space-that is, in space on the storage medium that is not currently

        being used by an active      file   lor long periods of time before they are overwritten. In

        addition, a computer's operating system may also keep a record of deleted data in a

        "swap" or "recovery" file.

                b.        Wholly apart from user-generated files, computer storage media-in

        particular, computers' internal hard drives-contain electronic evidence           of how a
        computer has been used, what it has been used for, and who has used it. To give a few

        examples, this forensic evidence can take the form of operating system configurations,

        artifacts from operating system or application operation, file system data structures, and




                                                    16
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 17 of 27 PageID# 23




       virtual memory "swap" or paging files. Computer users typically do not erase or delete

       this evidence, because special software is typically required for that task. However, it is

       technically possible to delete this information.

              c.       Similarly, files that have been viewed via the Intemet are sometimes

       automatically downloaded into a temporary Intemet directory or "cache."

       27.    Forensic evidence. As further described in Attachment B, this application seeks

permission to locate and search not only computer files that might serve as direct evidence ofthe

crimes described on the warrant, but also seeks permission        to   locate and search forensic

electronic evidence that establishes how computers were used, the purpose oftheir use, who used

them, and when. There is probable cause to believe that this forensic electronic evidence   will   be

on any storage medium at the property described in Attachment A because:

              a.       Data on the storage medium can provide evidence of a file that was once

       on the storage medium but has since been deleted or edited, or ol a deleted portion of a

       file (such as a paragraph that   has been deleted from a word processing      file). Virtual

       memory paging systems can leave traces of information on the storage medium that show

       what tasks and processes were recently active. Web browsers, e-mail programs, and chat

       programs store configuration information on the storage medium that can reveal

       information such as online nicknames and passwords. Operating systems can record

       additional information, such as the attachment of peripherals, the attachment of USB

       flash storage devices or other external storage media, and the times the computer was in

       use. Computer   file systems can record information about the dates files were created and

       the sequence in which they were created, although this information can later be falsified.




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 18 of 27 PageID# 24




             b.     As explained herein, information stored within a computer and         other

      electronic storage media may provide crucial evidence of the '1 ho, what, why, when,

      where, and how" of the criminal conduct under investigation, thus enabling the United

      States to establish and prove each element or, altematively, to exclude the innocent from

      further suspicion. In my training and experience, information stored within a computer or

      storage media (e.9, registry information, communications, images and movies,

      transactional information, records of session times and durations, intemet history, and

      anti-virus, spyware, and malware detection programs) can indicate who has used or

      controlled the computer or storage media. This "user attribution" evidence is analogous

      to the search for "indicia of occupancy" while executing a search warrant at a residence.

      The existence or absence of anti-virus, spyware, and malware detection programs may

      indicate whether the computer was remotely accessed, thus inculpating or exculpating the

      computer owner. Further, computer and storage media activity can indicate how and

      when the computer or storage media was accessed or used. For example, as described

      herein, computers typically contain information that log: computer user account session

      times and durations, computer activity associated with user accounts, electronic storage

      media that connected with the computer, and the IP addresses through which the

      computer accessed networks and the intemet. Such information allows investigators to

      understand the chronological context of computer or electronic storage media access, use,

      and events relating to the crime under investigation. Additionally, some information

      stored within a computer or electronic storage media may provide crucial evidence

      relating to the physical location of other evidence and the suspect. For example, images

      stored on   a computer may both show a particular location and have          geolocation




                                              I8
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 19 of 27 PageID# 25




      information incorporated into its     file data. Such file data typically also      contains

      information indicating when the file or image was created. The existence of such image

      files, along with extemal device connection logs, may also indicate the presence of

      additional electronic storage media (e.g, a digital camera or cellular phone with an

      incorporated camera). The geographic and timeline information described herein may

      either inculpate or exculpate the computer user. Last, information stored within            a


      computer may provide relevant insight into the computer user's state of mind as it relates

      to the offense under investigation. For example, information within the computer may

      indicate the owner's motive and intent        to commit a crime (e.g, intemet       searches

      indicating criminal planning), or consciousness ofguilt (e.9., running a "wiping" program

      to destroy evidence on the computer or password protecting/encrypting such evidence in

      an efloft to conceal it from law enforcement).

             c.      A   person   with appropriate familiarity with how a computer works      can,

      after examining this forensic evidence in its proper context, draw conclusions about how

      computers were used, the purpose of their use, who used them, and when.

             d.      The process of identifying the exact files, blocks, registry entries, Iogs, or

      other forms of forensic evidence on a storage medium that are necessary to draw an

      accurate conclusion is a dynamic process. While     it is possible to specify in advance the

      records to be sought, computer evidence is not always data that can be merely reviewed

      by a review team and passed along to investigators. Whether data stored on a computer is

      evidence may depend on other information stored on the computer and the application       of

      knowledge about how a computer behaves. Therefore, contextual information necessary

      to understand other evidence also falls within the scope ofthe warrant.




                                               l9
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 20 of 27 PageID# 26




               e.      Further, in finding evidence ofhow a computer was used, the purpose of

        its use, who used it, and when, sometimes it is necessary to establish that a particular

       thing is not present on a storage medium. For example, the presence or absence of

       counter-forensic progmms or anti-virus programs (and associated data) may be relevant

       to establishing the user's intent.

       28.     Necessily ofseizing or copying entire computers or storoge media.ln most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent      with   the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer's data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:

               a.      The time required for an examination. As noted above, not all evidence

       takes the form   of documents and files that can be easily viewed on site. Analyzing

       evidence ofhow a computer has been used, what it has been used for, and who has used           it

       requires considerable time, and taking that much time on premises could be unreasonable.

       As explained above, because the warrant calls for forensic electronic evidence,           it   is


       exceedingly likely that it   will   be necessary to thoroughly examine storage media to obtain

       evidence. Storage media can store           a large volume of information. Reviewing         that

       information for things described in the warrant can take weeks or months, depending on

       the volume ofdata stored, and would be impractical and invasive to attempt on-site'




                                                    20
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 21 of 27 PageID# 27




                b.       Technical requirements. Computers can be configured in several different

         ways, featuring a variety     of different   operating systems, application software, and

         configurations. Therefore, searching them sometimes requires tools or knowledge that

         might not be present on the search site. The vast array of computer hardware and

         software available makes it difficult to know before a search what tools or knowledge

         will be required to    analyze the system and      its data at the property described in

         Attachment   A.   However, taking the storage media off-site and reviewing        it in a
         controlled environment will allow its examination with the proper tools and knowledge.

                c.       Variety of forms of electronic media. Repords sought under this warrant

         could be stored in a variety of storage media formats that may require off-site reviewing

         with specialized forensic tools.

         29.    Nature   of   examination. Based on the foregoing, and consistent with Rule

al(e)(2)(B), the warrant for which I am applying would permit seizing, imaging, or otherwise

copying storage media that reasonably appears to contain some or all of the evidence described

in the warrant, and would authorize a later review ofthe media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans   ofthe entire medium, that might expose many parts of    a hard drive to human inspection in


order to determine whether it is evidence described by the warrant.




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 22 of 27 PageID# 28




                                                      CONCLUSION

         30.     Based on the information provided               in this affidavit, your Affiant submits that

  probable cause exists     to believe that that ISAIAS DANIEL CHINCI{ILLA                          (hereinafter,

  'CHINCHILLA") is involved in a conspiracy to distribute fentanyl, in violation of Title                     21,

  United States Code, Sections 841(aXl) and 846. There is also probable cause to believe that

  evidence, fruits, and instrumentalities ofthese crimes, as further described in Attachment B,              will

  be found at the TARGET        LOCATION. Whereforc, pursuant to Rule 4t of the Federal Rules of

  Criminal Procedure,   I   respectfully request warrants to search and authority to seize al the

  TARGET LOCATION those items identified in Attachment B.


                                                             Respectfully subm itted,




                                                             Task Force Oflicer         ll M. Mason
                                                             Drug Enforcement A         istration




  Attested to by the applicant in accordance with
  the requirements of Fed. R. Crim. P. 4.1 by
  telephone on July 6, 2022.


                        Digitally signed by Ivan Davis
                        Date: 2022.07.06 13:06:01 -04'00'


  Hon. lvan D. Davis
  United States Magistrate Judge




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 23 of 27 PageID# 29




                                      A'ITACHMENT A

                                     Place to be searched

       The premises to be searched is the following, including any and all structures located

within the curtilage thereot 3009 Summershade Court, Hemdon, Virginia 20171 ("TARGET

LOCATION") is a two-story single-family residence. The sides of the residence are a mixture

of gray siding and red brick. The numbers "3009" are affixed horizontally above glass sliding

doors on the left side of the residence and vertically on a post that supports the awning to the

right of the main front door. The main door to the residence is white in color and is located in

the middle ofthe residence.



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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 24 of 27 PageID# 30




                                         ATTACHMENT B

                                          Ilems to be seized

       The items to be seized are evidence, contraband, fruits, or instrumentalities of violations

of Title 21, United States Code,       Sections 841 and 846 (Conspiracy to distribute fentanyl)

including, but not limited to, the following

       a    Controlled substances, indicia of distribution, records and documents, receipts, notes,
            ledgers, and other papers including any computerized or electronic records including
            cellular telephones, relating to the ordering, purchase or possession of controlled
            substances;

       b.   ltems commonly associated with the packaging and sales of controlled substances,
            including USPS packaging, sealed parcels prepared for mailing, gray and manila
            bubble mailers, address labels, black foil bags, plastic bags or zip lock bags;

       c.   U.S. currency and other illicit gains from the distribution of controlled substances;

       d.   Books, records, receipts, notes, ledgers, and other papers including any computerized
            or electronic records including cellular telephones, relating to the ordering, purchase
            or possession of controlled substances;

       e.   Address and/or telephone books and papers, including computerized or electronic
            addresses and/or telephone records reflecting names, addresses and/or telephone
            numbers;

       f.   Books, records, receipts, bank statements, and records, money drafts, letters ofcredit,
            money order and cashier's checks, receipts, pass books, bank checks, safety deposit
            box keys and any other items evidencing the obtaining, secreting, transfer,
            concealment, storage and/or expenditure of money or other assets including, but not
            lim ited to, controlled substances;

       g.   Firearms, ammunition (including spent ammunition), and indicia of firearm
            possession, including photos and videos depicting firearm possession, gun cases, gun
            packaging, gun racks, gun manuals, cleaning kits, tools used for the maintenance of
            firearms, magazines, ammunition, and packaging for magazines or ammunition;

       h.   Documents and papers evidencing ownership of firearms, possession of firearms,
            storage and location ofsuch assets and facilities to safely store and secure such items,
            such as safes, to include lock boxes, gun safes, and strong boxes;

            Cellular telephones, personal data accessories, computer flash cards, video tapes,
            compact disks, digital video disks, and other devices and/or electronic media;

       j.   Photographs and/or video, in particular photographs and/or videotapes oflpotential
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 25 of 27 PageID# 31




            co-conspirators and their criminal associates, assets, and/or controlled substances,
            along with personal address lists, and other documents with the names and telephone
            numbers of potential co-conspirators;

       k.   Indicia ofoccupancy, residence, and/or ownership ofthe premises described herein,
            including, but not limited to, utility and telephone bills, cancelled envelopes, and
            keys;

       For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant ("COMPUTER"):

       a    Evidence of who used, owned, or controlled the COMPUTER at the time the things
            described in this warrant were created, edited, or deleted, such as logs, registry
            entries, configuration files, saved usernames and passwords, documents, browsing
            history, user profiles, emai[, email contacts, "chat," instant messaging logs,
            photographs, and correspondence;

       b.   Evidence of software that would allow others to control the COMPUTER, such as
            viruses, Trojan horses, and other forms of malicious software, as well as evidence of
            the presence or absence of security software designed to detect malicious software;

       C    Evidence ofthe lack of such malicious software:

       d.   Evidence indicating how and when the COMPUTER was accessed or used to
            determine the chronological context of computer access, use, and events relating to
            crime under investigation and to the computer user;

       e.   Evidence indicating the COMPUTER user's state of mind as it relates to the crime
            under investigation;

       f.   Evidence of the attachment to the COMPUTER of other storage devices or similar
            containers for electronic evidence;

       g.   Evidence of counter-forensic programs (and associated data) that are designed to
            eliminate data from the COMPUTER;

       h.   Evidence of the times the COMPUTER was usedr

            Passwords, encryption keys, and other access devices that may be necessary to access
            the COMPUTER;

       j.   Documentation and manuals that may be necessary to access the COMPUTER or to
            conduct a forensic examination of the COMPUTER;
Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 26 of 27 PageID# 32




       k.    Records of or information about Intemet Protocol addresses used by the
             COMPUTER;

        l.   Records of or information about the COMPUTER's Intemet activity, including
             firewall logs, caches, browser history and cookies, "bookmarked" or "favorite" web
             pages, search terms that the user entered into any Intemet search engine, and records
             of user-typed web addresses;

       m. Contextual information     necessary to understand the evidence described in this
             attachment.

       As     used above, the terms "records," "documents," "programs," "applications,"

"materials," and "information" includes all forms of creation or storage, including any form of

computer or electronic storage (such as hard disks or other media that can store data); any

handmade form (such as writing); any mechanical form (such as printing or typing); and any

photographic form (such as microfilm, microfiche, prints, slides, negatives, videotapes, motion

pictures, or photocopies).

       The term "computer" includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.

       The term "storage medium" includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

        During the execution      of the   search    of the TARGET LOCATION           described in

Attachment    A, law   enforcement personnel are authorized     to (l) press or swipe the fingers
(including thumbs) of any individual, who is found at the subject premises and reasonably

believed by law enforcement to be a user of a device found at the premises, to the fingerprint

scanner of the device; (2) hold a device found at the premises     in front of the face tlose   same




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Case 1:22-sw-00372-IDD Document 1-1 Filed 07/06/22 Page 27 of 27 PageID# 33




individuals and activate the facial recognition feature, for the purpose of attempting to unlock the

device in order to search the contents as authorized by this warrant

       This warrant authorizes the seizure of any COMPUTER or electronic device.
However, with respect to any COMPUTER or electronic device, this warrant authorizes
only the search of any COMPUTER or electronic device that is reasonably determined to
have heen owned or utilized bv CHINCHILLA.

        This warrant authorizes a review of electronic storage media and electronically stored
information seized or copied pursuant to this warrant in order to locate evidence, fruits, and
instrumentalities described in this warrant. The review ofthis electronic data may be conducted
by any govemment personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attomeys for the government, attomey support staff, and
technical experts. Pursuant to this warrant, the DEA may deliver a complete copy ofthe seized
or copied electronic data to the custody and control of aftorneys for the government and their
support staff lor their independent review.

        Any locked container such as a safe may be searched for the property to be seized set
forth herein.

        Ifthe government identifies seized communications to/from an attomey, the investigative
team will discontinue review until a filter team ofgovernment attomeys and agents is
established. The filter team will have no previous or future involvement in the investigation of
this matter. The filter team will review all seized communications and segregate
communications to/from attomeys, which may or may not be subject to attorney-client privilege.
At no time will the filter team advise the investigative team ofthe substance ofany ofthe
communications to/from attorneys. The filter team then willprovide all communications that do
rol involve an attomey to the investigative team and the investigative team may resume its
review. Ifthe filter team decides that any ofthe communications tolfrom attomeys are not
actually privileged (e.g., the communication includes a third parry or the crime-fraud exception
applies), the filter team must obtain a court order before providing these attomey
communications lo the inr estigative team.
